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Pro Sc 15(Rev. 12/16) Complaint for Violation of Civil Kight.s(Non-Prisoner)
                                                                                                                             mm
                                                                                                                   U.S.DlSTRig COURT
                                       United States District Court
                                                                          for the                                  20ZZ APR -t-I P !2- 02
                                                            Southern District of Georgia
                                                                                                                CLERK.
                                                                    Dublin Division                                    SO.DiF"
                                                                                                                           lU I.             O/A.




              Manetiony Clervrain;                                                  Case No.
Emmanuel Benjoassaint; Wislene Casir; James Berlin
                                                                                                    (to befilled in by the Clerk's Office)
 Simons; Alex Felix; Max Jcan-Baptistc; Widciine
  Vcillard; Boznai Romelus; Lonica C. Casy; Joanne
  Deborah Jean-Jacques Delva; Baptistc Jean-Louis;
           Marie Jasmine Malval Brandako, Inc
                          PlaiiiliJJ(s)
(Write thefull name nfeach plaintijfwho i.i filing this complaint.
Ifthe names ofall the plaintiffs cannotJit in the .space above,                     Jury Trial: (check one)         Yes         No
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                 -V-



   Elizabeth L. Fite; Sarah B. "Sally" Akins; Hon. J.
   Antonio "Tony" DelCampo; ivy Cadic; Dawn M.
 Jones; Elissa B. Haynes; Ron Daniels; Bert Hummel;
  William C. "Bill" Gentry; R. Javoyne Hicks; Shiriki
      Cavitt Jones; David S. Lipscomb; Martin E.
  Valbuena; Nicki Noel Vaughan; Timothy C. Ward;
  Tommy M. Rouse; Alton Russell; Duke Blackburn;
    Ester Fleming Jr; Andrea Shelton; Janelle King;
Christopher Clark; J.C. "Spud" Bowen; Stacy Jarrard;
Donnie Pope; Bill White; Wayne Dasher; Barry Babb;
   John Mayes; Tina Piper; Simone Juhmi; W.D.
 Strickland; Guy A. Daughtrcy; Rose Williams; Lany
  E. Haynie; Luis "Lou" M. Solis Jr; Mark Bassford;
 David Belle Isle; Scott Blackstock; Cassius F. Butts;
Jake Carter; Dennis Chastain; Drew Ellenburg; Jaclyn
   Dixon Ford; Ron Garrard; Randall Hatcher; Allen
  Hodges; Julie Hunt; Eric Johnson; Gamctt Johnson;
Amy Kelley; Mitch Malcom; John J. "Jay" Nccly, III;
  Mulham Shbeib; Marisa Simpson; Mat Swift; Steve
 Syfan; Jay Wells; June Wood; Brandon Beach; Chris
    Clark; Matt Colvin; Daryl Ingram; Pat Menitt;
   William Pate; Kevin Shea; Lisa Smith; Rep. Ron
              Stephens; Coficld Widner;
                           Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofalt the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames. Do not include addre.sses here.)



                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS



                                                                                                                                                    (   13
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Pro Sc 15(Rev. 12/16)Complaint for Violation of Civil Rights(Non-Prisoner)


                                                        (Non-Prisoner Complaint)


                                                                      NOTICE


     Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
     electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
     security number or full birth date; the full name ofa person known to be a minor; or a complete financial account
     number. A filing may include only: the last four digits of a social security number; the year ofan individual's
     birth; a minor's initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
     forma pauperis.




I.        The Parties to This Complaint

          A.        The Plaintiff(s)


                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                          Name                                        Manetirony Clervrain
                          Address                                    4326 S Sctterfield Rd Suite 153

                                                                      Anderson                          IN             46013

                                                                                  City                 State          Zip Code
                          County
                          Telephone Niunber                          765-278-9806

                          E-Mail Address                              monticlervrain@gmail.com

          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known)and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1

                          Name                                        Elizabeth L. Fite

                          Job or Title (ifknown)                      President of State Bar of Georgia
                           Address                                    215 Windsor Gate Cove

                                                                      Sandy Springs                    GA              30342



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Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)

                                                                                     City             State               Zip Code
                          County
                          Telephone Number
                          E-Mail Address (ifknown)

                                                                         i Individual capacity       Official capacity


                     Defendant No.2

                          Name                                        Sarah B. "Sally" Akins
                           Job or Title (ifknown)                     President-Elect of Georgia Department of Education
                           Address                                    1480 Chatham Pkwy, Suite 210
                                                                      Savannah                         OA                  31405
                                                                                     City             State               Zip Code
                           County
                           Telephone Number
                          E-Mail Address (ifknown)

                                                                              Individual capacity    Official capacity


                     Defendant No. 3

                          Name                                        Antonio "Tony" DelCampo
                           Job or Title (ifknown)                     Treasurer of State Bar of Georgia
                           Address                                    5455 Chamblee Dunwoody Road
                                                                      Atlanta                          GA                  30338
                                                                                     City             State               Zip Code
                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                              Individual capacity    Official capacity


                     Defendant No.4

                           Name                                        Ivy Cadle
                           Job or Title (ifknown)                     Secretary of State Bar of Georgia
                           Address                                    P.O Box 5047

                                                                      Macon                            GA                31208-5047
                                                                                     City             State               Zip Code
                           County
                           Telephone Number
                           E-Mail Address (ifknown)

                                                                              Individual capacity    Official capacity




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II.       Basis for Jurisdiction


          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau ofNarcotics, 403 U.S. 388(1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.        Are you bringing suit against (check all that apply):
                     I i Federal officials(a Bivens claim)
                     i j State or local officials(a § 1983 claim)

          B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                    the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                    federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




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                     Thus, it is true that the defendants extensive conspiracy involved the violationfo the Banking industry,
                     or additional claims for ['"Class of One"] or Exclusion can be proving within this ["Motion for
                     Enforcing Power or Development, or Development Guidance Against Facilly Act by Invoking the
                     Ant(s) Nationality Act"]("TANA"),or they are additional claims for the defenants jusitfy controlling
                     theory, indeed the motion is pending to file to the various courts against the giant involved exclusion to
                     due process, or for them to justify why" the plaintiff can not open ["Credit cards"], or Bank Account
                     after being convicted      additionally, to prove National Origin Discrimination is another issues to be
                     proving by circumstantial of the evidence within the the same meaning for controveries claim,.then we
                     asking the courts if Chevron doctrine must be clarified Under the Chevron doctrine, a federal court
                     embarks on a two-part test in determining whether to defer to an agency's construction of a statute.
                     First, the court must consider whether Congress has "directly spoken to the precise question at issue, or
                     for which the defendant must show good cause exception. We believe these facts are sufficiently
                     outrageous to satisfy the first element of a cause of action against the officials, or defendants accross
                     the Nation for failure to act when the situations are so required, for the same reason they are liable for
                     additional damages for 1)[ The allegation for rattification Theory has met that is because the plaintiff
                     has filed evidence int he mail cases [21-CV-00326"], and the defendants are liable for intervening cause
                     that is part ofthe conspiracy claims upon reliefs can be granted, including additional damages,2)The
                     only question presented here is whether we should overrule those decisions, discarding the deference
                     they give to agencies. We answer that question by means of ["Auer deference"] retains an important
                     role in construing agency regulations. But even as we uphold it, we are asking for reinforce the limits.
                     Auer deference is sometimes appropriate only int his circumstances presenting, or. whether to apply it
                     depends on a range of considerations that we have noted now and again, but compile and further
                     develop today. The deference doctrine we describe is potent in its place, but cabined in its scope. On
                     remand, the Court of Appeals should decide whether it applies to the agency interpretation at issue
                     against injustice, 3) under a theory of respondeat superior the defendants, and their employees are
                     violations of§ 1981, or constructive notice for intervening cause action, so as to relieve the original
                     wrongdoer ofliability, provided the intervening act could have reasonably been foreseen and the
                     conduct[ofthe original wrongdoer] was a substantial factor in bringing about the harm, which the
                     Attorney is presenting to protect his family against futher dangerous theroy, including to remove those
                     activist in country such Haiti, among the other or any coutry where he as invoked that is not the United
                     States of America, if the the Supreme Court held that Congress did not intend in the Federal Tort
                     Claims Act("FTCA"),28 U.S.C. § 1346, to permit pendent-party jurisdiction.The FTCA provides that
                     "the district courts ...shall have exclusive jurisdiction of civil actions on claims against the United
                     States" for certain torts offederal employees acting within the scope of their employment. 28 U.S.C. §
                      1346(b). Petitioner seeks to append her claims against the city and the utility to her FTCA action
                     against the United States, even though this would require the District Court to extend its authority to
                     additional parties for whom an independentjurisdictional base — such as diversity ofcitizenship, 28
                     U.S.C. § 1332(a)(1)— is not lacking, that is because ["17-CV-03194"], or among the the other to be
                     filed in differents courts, or for the courts to certify the cases under Article 111, whether a federal court
                     in a diversity action may exercise supplemental jurisdiction over additional plaintiffs whose claims do
                     satisfy the minimum amount-in-controversy requirement, or If§ 1367(a) were the sum total of the
                     relevant statutory language, our holding would rest on that language alone. The statute, of course,
                     instructs us to examine § 1367(b)to determine if any of its exceptions apply, so we proceed to that
                     section. While § 1367(b) qualifies the broad rule of§ 1367(a), it does not withdraw supplemental
                     jurisdiction over the claims of the additional parties at issue here. The specific exceptions to § 1367(a)
                     contained in § 1367(b), moreover, provide additional support for our conclusion that § 1367(a)confers
                     supplementaljurisdiction over these claims. Section 1367(b), which applies only to diversity cases,
                     with-holds supplemental jurisdiction over the claims of plaintiffs proposed to be joined as indispensable
                     parties under Federal Rule of Civil Procedure 19, or who seek to intervene pursuant to Rule 24. Nothing
                     in the text of§ 1367(b), however, withholds supplemental jurisdiction over the claims of plaintiffs
                     permissively joined under Rule 20 ["like the additional plaintiffs "] or certified as class-action members
                     pursuant to Rule 23 (like the additional plaintiffs to be filed by the intervenors,. natural, indeed the
                     necessary, inference is that § 1367 confers supplemental jurisdiction over claims by Rule 20.

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